Case 3:17-cr-30047-N.]R Document 46-1 Filed 10/24/17 Page 1 of 50 Page |D #156
Case 3:17-€:\/-00034-JPG~RJD Document 1 Fiied 01!12/17 Page l of 76 Page iD #l
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Alfred Cross
P.o. Box 666 /"T’/U@Q CV@¢W”E / ~/AN 12
Mount Vernon, Illinois 62864 So?j}"=";lf, U_S' 0 209
Phone: (314) 724-5469 ggNg-gr§g;rgr COU
N OFF’CE 'LL'~T):
I`N THE U'NITED STATES DISTRICT COURT
FOR 'I`I-IE SOUTHERN DISTRIC'I` OF ILLINOIS
ALFR,ED CROSS )
, ) ,_"
NO: n ~6\/ / 3*4 6 96 »651)
Pl ' tiff § `
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)
vs. ) FIRST VERIFIED COMPLAINT
)
RANDALL NILE lRWIN, personally and )
RANDALL lRWIN dib/a NVK ] l- Bl'€a€h 01`€0|1¢1’3¢¢€
l PROpERTIES, LLC’ personally and as ) 2. Fraudnlent Misrepresentation;!
agent for NVK; PEoPLE’s NATIONAL ) jj §'§S“I‘EA violations
BANK, FDIC Reg\llated Pedel`&l Fil'ial'lcial ) 5‘ Deceptive Business’ pmctics;
\l, InSfitu[lOn; JEFFERSGN COUNTY ) 6. Mortgage Fraud; > * ~ ( §§ .._E
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61 NVK PROPERTIES, LLC, an nlinois ) §- §q“l‘?ble/C°E'sl:*em']Esf“PP=l/RG J“di‘=a*a=
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corporatl_on,_ MICHAEL HOLTZ, Paz'mer ) mountain Meruit
w1th lrwln, m thelr Incllvldually, Offic1al ) ll_Negligence
and Collectively capacity, inclusive, ) 12.Concert or Action
) l$.Declaratory Judgment
Defendants. )
/
FIRST VERIFIED COMPLAINT

 

Plaintiff, Al Cross, complains against Defendants, and each of them, as follows:

I. JURISDICTION
l. The Plaintiff in dlis action seeks money damages for violation of his contract rights, privileges and
immunities secured under the U.S. Constitution, Article I, Section 10, Clause l and Amendments First,

Piffh, and Fourteenth Amendments.

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Case 3:17-cv-00034~JPG-RJD Document 9 Filed 02/16/17 Page l of l Page |D #100

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

ALFRED CROSS,
Plaintiff,
v. ~ Case No. 17-cv-34-JPG~RJD
RANDALL NILE IRWIN, PEOPLES
NATIONAL BANK, JEFFERSON COUNTY

TITLE COMPANY, NVK PROPERTIES,
LLC and MICHAEL HOLTZ,

 

Defendant.
_JUM
This matter having come before the Court, and the Court having found it lacks subject
matter jurisdiction,

IT IS HEREBY ORDERED AND ADIUDGED that this case is dismissed for lack of

jurisdiction
JUSTINE FLANAGAN, Acting Clerk of Court
DATED: February 16, 2017 ' s/T ina Gra};1 Depugg Clerk

Approved: s/ J.. Phil Gilbert
J. PHIL GILBERT
DISTRICT JUDGE

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s e y 3-1` OI°ll'-y 51 ` eXD1ratio on date.' " F'er'nployees and three too and ca`n damage the' thisi"" ‘_ ¢ ` ` ‘ "'“
lion Agreement. t \ cipal at any time alter _ _ Bank by Amigo." have exercised their clearly had knowledge

BANK
Peoples Bank
cited $16.31\/1

FROM PAGE 1A

vice president_Chad
Curd, executed the
agreement. The sale

was closed on April 1,
2001. The Nowman's
received $270,000 cash,
Peoples and the New-
man's received the letter
of' credit for $150,000 and
all hut l,000 shares of
stock w_ere transferred ‘
to Amign. 'l'he remaining
1,000 shares of` stock were
placed in escrow with
PeopIes ns agreed in the
Pledge Agreement_

An Assumption Agroe-
ment was executed on
Ani;. 23, 2001 with Amigo,
the illinois Small Busi-
ness Growth Corporation
and U.S. Small Business
Administration, which \l:
listed the Newman’s as "
guarantors on two debts r
H- $230,000 and a loan
with a principal balance
of $824,000. The New-
man’s didn't have any
knowledge ol' the agree-
meot, and were not listed
as parties to the agree-
ment or sign the agree-
ment. court documents
state.

Sometime in 2012,
the Newman.’s found
'\\11 about a document
lied “Consent to As- l
linn ofl.oan” which-
\v was signed 1 _
about the

 
 
   

_an

  

“This Court`finds that
neither Rober_t New~
man-nor Terry Newman
signed said document nor
did they agree to remain
as guarantors_of` any
SB'A' indebtedness," the
judgement states. “...’I‘he
Newman’s did enter into
an agreement with PNB ,
(on Oct 116. 2001) PNB
agreed ‘to remove the 7
Newman’s individually
and any enterprise or
affiliate of the Newman’s
from any and all debt
arising from the Taco
John'sstores and the sale
of the stores to Amigo
held by the Bank."

The Newman' s `also
received several assur-

  
 

.' xecutive Vice President
Joe David Cummins, that

from any and all liability, .

with the exception of the
$230,330 note.”

The court determined
the Newman’s had been
released as guarantors _l_

and “the Assumption id

Agreement...is a forgery
or an otherwise fraudu- a
lently credited docu~ ii
ment_"

` -;Cummins i`s no longer

associated with Peoples7

_ National Bank.

Court documents show
Amigos first defaulted
on the'SBA in November
or December 2001. but
"the¢record is clear that
Amigo first defaulted on
the $230,330 note by-their
failure to make any pay-
ment of any kind in April
of 2002. The record is
clear that Amigo made no

 
 

M_arch 27,~2002, and had
defaulted on the note.”
Amigo had four total

loans, three owed to Peo- -

-ples.Nati_on'al Bank, and
between'April_ZOOZ and
0ctobe`r_2002,'Amigo had -
defaulted on the three -
notes due and payable.
“The total-of all in-A

-- debtedness associ-
ated with the Taco Johns `

stores outstanding as of
Oct. 28, 2001,7 equaled
'$4,053,390.28 which in-
cluded $3,243,892.05 on
the three loans to PNB
with-principal, inter-`
est and late fees and
the $809, 498.23 balance
due under the SBA 504
loan...

The bank knew of the
default before the end of
April 2002, and "the Bank
violated ,its fiduciary duty
to the Newman’s when it
began making transfers
from the Line of- Credit
at issue for its sole and
exclusive benefit," the
judgement states.- -

“Robert Newman and
'l‘erry Newman never `
received notice from,
the Bank of a default-by
Amigo on its obligations
under the Undertaking
of the Parties or‘Pledge
Agreement,”‘the judge_~l
ment further states
“Further, the Newman’s
received no notice from
theBank of the Bank’s
application of the Letter
of_Credit proceeds to -
indebtedness~o_wed the .

 

_"l‘he Newman's first
learned of the default
around get 25, 2002,
when they received a
letter from an.attorney
notifying them Amigo had
not made lease payments
and the 2001 property
tax bill was not paid - a

total of` $9,873.12.

"The Newman’s made
numerous inquiries of
PNB concerning the
status of' A.migo on their
obligations under the

_ parties’ agreements," the
__judgement states. “...

The
Newman’s traveled from
Herrin to Mt. Vernon on
three occasions to make
personal inquiries of`
bank staf`f. On each of`
those occasions and in
phone calls directed at
both the Newman’s and
their counsel, the Bank
refused to provide infor-
mation to the Newman-’s
concerning the status~oi`
Amigo with regard to the
payments on debt obliga-
tions associated with the
Taco John’s franchises”
The_ judgement states
Peoples Bank had 1a duty -
to disclose the default
and “breached its duty
by failing to act affirma-
tively to provide notice,

6 by- its refusal to pro-

vide information to the
Newman’s despite their
repeated requests, and
by its application of the
Line of Credit for the sole
benefit of the Bank."

The Newman’s would

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rights to take back all

_stock and operational

control ol` the eight res-
taurants,-had the bank _
m`ade the notification.'

- "The $150,000 Letter_ of
Credit naming‘the Bank

. and the\Newman's as -

beneficiaries'would have

been more than sufficient `

to_.have-paid-alloutstand-
ing interest and late
charges-and would have
been sufficient to have '
brought all of Amigo’s _
debt current, had'it been
properly-applied by` the
bank," the judgement
statesl

The judgement states
the case warrants puni-
tivedamages, as well as
compensatory damages
as well- -as emotional dis-
tress.

“The Bank’s conduct
was intentional and re~
peated and perpetrated
with knowledge of the
likely and significant
harm that would befall
the Newman's," the
judgement states “The
bank also had knowledge
of the Newman's finan-
cial circumstances and
of Amigo’s performance
under the terms of the
agreements at' 1ssue. lt

  

Pizza & ltalian Restaurant

:' LUNCH SPEC|'AL
.§ Daily Pasta Special
§ W:'th Bread & Dn'ni<
§ 8“ 2 Topping_Pizza
§ with Salad & Dn'nk

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that the-application of
the Line~ot` Credit for
its sole benefit would

_ be to the detriment of

the Newman’s. Des_pite
that knowledge and the
primary duty required
ol` a i`iduciary; the bank
engaged in a»patte‘rn of`
violations in breach of its
duty The intentional,
repeated a_nd knowing
nature of the bank’s '
conduct is the proximate
Cause of both financial
and emotional distress
injuries suffered by thc-
Newman’s."

The court°judgcmenl
orders Peoples to pay
$1,650,000 in lost pr¢)l`ils,
$2,885£45 in lost incomc,
$1,727,802 in lost equity
and $280,0(]0 in emotional
distress_f`or a total of
$6',543,047 in compen-
satory damages to the

, Newman’s, and another

$9,814,570 in punitive
damages which include

1 attorney’s fees, for a total

of $16,357,618. _
_Case went to the Fifth

Appellate Court prior

to the judgement The

Appelt`ate Court upheld

the facts presentcd` in the

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’;"315_.1-’131~¢,._-":..¢;)” 311'"~:/ 1.'»"`¢;.. fw "/ 1(,,_/131';.31'»§‘-; 311¢’¢:~'! '/'}"'= ‘.1/¢’”

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Civil lawsuit accuses Peoples National Bank and its
leaders of racketeering, fraud

MOLLY PARKER THE SOUTHERN Mar 19, 2017

 

Bonan ll

GRAND CHAIN_ A brewing feud between two longstanding Southern Illinois banks has

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In a lawsuit filed this past week in federal court, Grand Rivers Comlnunity Bank accuses

Peoples National Bank and its leaders of usurping control of Grand Rivers for
racketeering activities from August 2010 through the present time to the detriment of

gone public.

Grand Rivers.

The lawsuit accuses Peoples and its leaders of “rampant self-dealing, preferential
transactions, and improper transfer of low-quality assets from Peoples to Grand Rivers.”
lt further alleges that Peoples sought to acquire Grand Rivers in August 2015 for the
purpose of concealing those activities

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Case 3:17-cr-30047-N.]R Document 46-1 Filed 10/24/17 Page 23 of 50 Page |D #178

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On Friday, a representative of Peoples National Bank’s corporate office in Mount Vernon,
said the bank and the defendants named in the lawsuit had no comment at this time on

the allegations made against them in the 61-page filing

Grand Rivers claims it only became aware of the illegal activities it alleges after the

merger was finalized on Nov. 27, 2015.

Therefore, Grand Rivers claims that based on its allegations of Peoples “fraudule#r_i_t;M
concealment of the true purpose of the agreement,” that the merger agreement “is based
entirely on 'fra.___u__<_:l and is void.” The lawsuit also alleges that the board of directors of Grand
Rivers was illegally constituted at the time of the merger, in violation of Illinois law and

Grand Rivers’ bylaws.

The lawsuit specifically accuses Frank William Bonan II, former chairman of the Grand f

--__¢-""""°‘""”'°""°"°""" , , .. .

Rivers Community Bank and a current director of Peoples, of using the bank“ as a
personal account from which he could borrow unlimited amounts of money.’ Collectively,

the defendants are accused of infiltratlng Grand Rivers and its sole shareholder, Main

Street Bancshares Inc., and managing themL for their own illegal_purpgs;<e_s)
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Named as defendants in the lawsuit brought by Grand Rivers and Main Street are:

 

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- Peoples National Bank;
- Peoples’ sole shareholder, Market Street Bancshares;

- Bonan II, of Harrisburg, Who also formerly served as Peoples’ president of the Southern

Illinois District;

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C?Se 3:17--cr 3 047- N.]R Document 46- 1 Filed 10/24/1_117 e 24 of 50 Pagg |D&¢179
- his ther, Fran William Bonan, of Mount Vernon, t e c al man, preside an general

counsel of Peoples and vice chairman of Market Street;

fldl¢UlI

- and Keith Botsch, of Carmi, a former member of Grand Rivers’ Executive Committee, a
CPA who does accounting work for Grand Rivers, and a current director of Market Street

and Peoples.

Key components of the case

The lawsuit’s chief accusations are as follows:

- In 2010, Bonan II and Botsch came to constitute a majority of Grand Rivers’ three-
member Executive Committee, which is Charged with approving all loans. Many of the
loans made while Bonan II and Botsch were controlling members benefited their insiders,
Bonan II’s family members and friends, or one of five separate business entities controlled

by Bonan II, it is alleged.

The lawsuit does not name those business entities, but a search of online newspaper
archives and government records shows Bonan II is a key member of businesses dealing
with real estate, group health’ insurance and vide_o gaming parlors located in 11 Souther33. z¢:

Illinois communities called Nikki’ s Place. '/l"’ ,-;rf'l,,/ '}1#"{'? w=bi
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According to the lawsuit, Bonan II and Botsch did not disclose the substantial nature of
certain loan transactions to Main Street, Grand Rivers, or the third independent member
of the executive committee “When questions were raised as to the quality of these
transactions, Bonan II exercised dominant_contr_ol to muller the snc_hem.e.f’

- Market Street and Peoples asserted control over and indirect ownership of Main Street
and Grand Rivers without the required approval of the Federal Reserve, it is alleged.

- On ]une 29, 2012, Grand Rivers extended three loans totaling $1.47 million to family
members of a shareholder, director, and a Peoples insider, the lawsuit alleges. All three
were in their 20s at the time, and none were customers of Grand Rivers. It is alleged that
they were straw borrowers' in a scheme orchestrated on behalf of Peoples. Non-exi§tent

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collateral Was pledged on these loans

 

 

 

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Case 3:17-cr-30047-N.]R Document 46-1 _Filed 10/24/ 7 Page 25 of 50 Pa%et llg) #1£i0
The loan proceeds were paid from Grand Rivers to Mar et Street Bancshare t e so e

shareholder of Peoples) via wire transfer on Iuly 5, 2012. The lawsuit alleges that on Aug, 9,
2012, Market Street and Peoples used these “ill§gally Qb*t_:_iinedfunds” to repay the federal
government money owned under the Troubled Asset Relief Program. The TARP program
was signed into law by President George W. Bush in October 2008 to help banks regain
financial stability during the subprime mortgage crisis that sparked the Great Recession.

» It is alleged that Peoples bank routinely used Grand Rivers to serve as a refinancing
source for Peoples' high-risk loans, in order to improve Peoples’ balance sheet. The
troubled loans inappropriately refinanced by Grand Rivers total about $10 million,
accounting for about 21 percent of Grand Rivers’ entire loan portfolio, it is alleged.

In one such case, it is alleged that Grand Rivers Credit Analyst Don Nave was instructed by
Bonan II to extend credit to a borrower Nave had flagged as a substandard credit risk. The
refinancing deal exposed Grand River by more than $1.26 million on behalf of a borrower
that Was continuing to experience cash flow issues, the lawsuit claims.

After Nave expressed his concerns, Bonan II responded, “Are you asking if I give a s---
Don? You have no idea what is going on. If you would like to know please let me know. You
guys work on this loan or pack your s--- and get out,” according to an email exchange
included in the lawsuit, That same day, Grady Gaskins, the bank’s CPO, submitted the
restructured loan for approval to the executive committee, which signed off on it. “The
loan remains unpaid, and has caused Grand Rivers to suffer loses,” the lawsuit states.

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'. l‘:"*';
'Rampa nt self-deal ing' alleged tfw;,;j
Bonan II is accused in the lawsuit of personally engaging in a pattern of §§;cl§gllng vt_“o_ V“l;"" l
b§n§§ithimse_lf! his family members and friends, and a romantic partner. The lawsuit
alleges Bonan II sent an email ]une 7, 2015, to Cl-`O Gaskins and others stating, “I need to
get my gross income up to $250,000 per month Very soon. We Will go over cash flow so
everyone will know how than [sic] contribute Remember the deal. The more money the

business makes the more money you guys make. I have always done this and will continue
to do this.”

The lawsuit details allegations of lines of credit issued at the direction of Bonan II, to
benefit friends of his and businesses with which he is ass_gciat§_d.

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-.‘;5 . , . a
Dl¢' improper act1v1t1e_s related to Grand RiversLand expressed in words or substance that,

ira/2017 CaSe 3:17'Cf:i§1q)an4sdii§lt]d§es £S)p?e%rr\ll lgblé§ridamllc! fegadrgd?rg'd<:lazien¢§.arga§df§oc%l 135er |lll§g$nleld.§§ll\gl
The lawsuit claims that a substantial part of a $1.325 million loan was used to purchase an
apartment building for a company Bonan II is involved with. And a $300,000 loan,
obtained through a _.qu§_g was used as a down payment on a building purchased
by a company owned and controlled by Bonan II and Botsch, Grand Rivers’ CPA, it is

alleged.

lt is further alleged that at Bonan II’s direction, Grand Rivers extended loans to another
company with which he is involved in the amount of $1.262 million. The loan was
guaranteed by two individuals with extremely limited financial capacity, one of which had
a net negative worth, and whom were employed by Bonan II in his other activities, the

lawsuit alleges

A portion of the money - about 5358,000 - Was used to refinance a mortgage loan owed
to Peoples National Bank by another company Whose managing members Were friends of
Bonan II's, one of Whom it is believed he was engaged in a romantic relationship with at

the time, the lawsuit alleges

Merger Ca|led into question

As to the merger agreement, the lawsuit alleges that on or about Iuly 12, 2015, Botsch, the
_ CPA, contacted Bonan (Bonan II’s father) regarding Botsch's knowledge of Bonan II’s

 

/_
On Aug. 20, 2015, Gaskins sent an email to Bonan II at his Peoples email address with the
subject “PLAN” that outlined the intended terms of the acquisition of Grand Rivers by
Market Street and Peoples. On Aug. 24, 2015, Market Street, at the direction of the elder
Bonan, its chairman, entered into a letter of intent to acquire the outstanding stock of

Grand Rivers rBonan_Il executed the letter of intent on behalf of Grand Rivers. On Oct. 20,
2015, Bonan II abruptly resigned from the Grand Rivers Board of Directors, the lawsuit

u_nless Bonan I Were to do something about it, Bonan II would ggto prison."__’

claims.

The day after his resignation, in a telephone conversation with Grand Rivers CEO Whitney
Stringer, Bonan II said he would consider reinstating himself as Chairman of the board to
get the merger on track, but advised that CEO Stringer would need to speak with the elder

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Bonan to determine whether the merger was going forward. On Oct. 21, 2015, Bonan
confirmed that Market Street would go forward with the acquisition if Botsch, the CPA,

resigned from the board, according allegations in the lawsuit.

That same day, Bonan II advised CEO Stringer that, for the merger to proceed, everyone
except for board member lake Campbell would have to resign; Bonan II would be able to
choose his own board, and he would be paid $10,000 per month as chairman.

He stated his demands must be met by 4 p.m. Main Street and Grand Rivers went along
with the deal, claiming in the lawsuit they did so because they were “unaware of the self-
dealinngreferential transactions, and transfer of low~quality assets" directed by §@_all_l_
to the detriment of Grand Rivers, and at the time desired to go forward with the merger.
Under the terms of the deal, Bonan II then named to the board himself, CEO Stringer, CFO
Gaskins, Campbell, a prior board member, and Luke Phelps, a business insurance agent
from Eldorado and the son of former Congressman David Phelps.

 

 

- The lawsuit claims that Bonan II inappropriately controlled the election of the majority
of directors of Main Street When making the above directive on Oct. 21, 2015, regarding
constitution of the board, It is alleged that Bonan II purported to serve as chairman, but
was neither appointed nor elected as required by Illinois law or the Grand Rivers’ bylaws.
Citing the alleged improper constitution of the board and alleged concealment of
fraudulent acts including racketeering, Grand Rivers claims the merger should be voided.

- The plaintiffs additionally seek compensatory and punitive damages and attorneys’ fees,
all to be determined in a trial.

The lawsuit Was filed Tuesday in the U.S. District Court for the Southern District of
Illinois. It was originally assigned to lodge Phil Gil_lg§_r;t,_bll_t_cgg“r_§_l§§¢;p`l'_d§_fll§ll.ldl§!ln¢§!ié!.
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The lawsuit alleges five counts of civil violations of the Racketeer Influenced and Corrupt
Organizations Act, more commonly known to by its acronym, RICO. The 1970 RICO Act
allows for both civil claims and criminal charges to be brought against alleged violators.
To date, the newspaper is not aware of any federal criminal charge_s_brought against the
defendants as it relates to the allegations of racketeering outlined in the civil lawsuit.

The lawsuit additionally alleges financial institution fraud, breach of fiduciary duty and

 

 

two counts of fraud, ,y,<m¢¢.' 744/1115 /,'J 'A¢€ war /},/ JZ»LS¢¢,./ C'é..,'
About Peoples Bank

Peoples Bank, headquartered in Mount Vernon, is one of the largest locally owned and
controlled banks in Southern Illinois. Its roots date back to 1893, when a private firm
called Peoples Bank was founded in McLeansboro. It was chartered as a national bank in
1909, according to the bank’s website. In 1988, shareholders Bill Bonan and Hunt Bonan
- Bonan II’s father and uncle, respectively -- formed a bank holding company, Market
Street Bancshares, Inc., for the purpose of acquiring 100 percent of the stock of Peoples.

Peoples, under the Bonan family’sleadership, has enjoyed much success over the years
and currently has Illinois branches in West City, Benton, Carmi, Carterville, Centralia,
Dahlgren, Eldorado, Equality, Fairfield, Harrisburg, Herrin, Marion, McLeansboro, Mount
Vernon, Salem and West Frankfort, in addition to branches in the Missouri cities of St.

Louis and Clayton.
The Bonans have been active in both charity and politics in the region and state.

Conibinedy Bonan, Bonan ll, `I-lunt'-'Bonanh,'-Market`S'treet _ljancshares and other companies
affiliated with the Bonans have given tens of thousands of dollars in campaign donations
to political candidates on both sides of the aisle. The family was among the largest

financial supporters of former Gov. Rod Blagojevich.

During the Blagojevich administration, Hunt Bonan served as chairman of the Board of
Review of the Illinois Department of Employment Security, and Bonan II Was appointed by
Blagojevich to serve on the SIU Board of Trustees, of which he was a member from
October 2008 to April 2011.

 

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`1/3/2017 Case 317-ccerst danos mentm§udandli'uleahét£)i&ldol<mem@a@ed twest l Pug'eh¢|‘oq#'r$d,
More recently, the Bonans financially supported the campaigns of Dale I-`owler, who is
employed as the Southern Illinois business development officer for Peoples, in his
successful 2015 run for mayor of Harrisburg and 2016 bid for the state senate. Fowler, R-
Harrisburg, toppled longtime Democratic Sen. Gary Forby, D-Benton in a surprise upset
this November. Cornbined, the Bonans, individually and through companies with which
they are associated, gave $47,500 since 2015 to Fowler’s campaign accounts for mayor and
state senator. The elder Bonan and Fowler are co-founders of the nonprofit Fowler-Bonan

Foundation that provides clothing and shoes to children in need, ar§Bonan II serves on
the charity’s board, x ‘9/‘~’/‘1 ‘)‘=’¢¢ /£M»? /){:§}1 <:éwz:

The Bonans have also given smaller amounts to other politicians, including recently
Republicans Rep. Terri Bryant, Sen. Paul Schimpf, and Leslie Munger, who lost a bid for
Illinois comptroller in November, as well as Democrats that include Williamson County
State's Attorney Brandon Zanotti, and Judge ]o Beth Weber, who lost her judicial race in
November for the Sth District Appellate Court.

_In August 2016, Peoples made headlines after aLackson County Circuit Court ud e
rendered a judgment against the bank in excess of 816 million, most of Which was to be

paid to two Herrin brothers who said the bank's fraudulent activities caused them to lose

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their Taco lohn's franchise in Southern Illinois. 1136 Dnus'c( C“,,,,,£:?g C],c{ _#’"b) how l_,
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In their lawsuit, Robert and Terry Newman accused Peoples, their longtime financial

institution, of illegally converting their assets, forging documents that left them on the 952
hook for hundreds of thousands of dollars in indebtedness, and failing to provide

reasonable and honest communication to clients whom they had a fiduciary
responsibility, resulting in the Newmans losing rights to reclaim their business when the
party they sold to defaulted on its loans, At the time, Peoples said it planned to appeal the

decision.

 

About Grand Rivers w

Grand Rivers Community Bank is a much smaller operation in business scope and
influence Peoples is a nationally chartered member of the l-`ederal Reserve Systern, where

Grand Rivers is a state-chartered bank.

Grand Rivers has roots in Pulaski County dating back to 1902, with current branch
locations in Grand Chain, its headquarters, Karnak and Shawneetown. The bank had
apparent financial struggles before 2010, the year Bonan II is alleged to have begun hi_s_

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reign of undue influence over Grand Rivers. ‘

 

In 2009, Grand Rivers entered into a consent decree with the.Pederal Deposit Insurance
Corp. and the Illinois Department of Professional and Financial Regulation to correct

unsafe or unsound bank practices alleged to have been committed by the bank. The bank
entered into the consent decree, Which called for corrective business and management
practices, without either denying or admitting to the claims that caused regulators to flag

the bank and issue a cease and desist order.

 

 

It was one of 55 Illinois banks that state regulators issued enforcement against in 2009, at
the height of the recession, as many financial institutions struggled.

The order was terminated on Aug. 15, 2011.

Grand Rivers entered into a second consent order with state’s regulatory arm on May 24,
2016, Again, the bank did not admit to or deny the allegations of unsafe and unsound
banking practices alleged by state regulators that led to the enforcement action. The
standard language consent order calls for the rapid hiring of a skilled financial manager
and greater board participation and oversight to ensure sound financial practices

vIn 2016, Grand Rivers was one of only six banks state financial regulators issued
enforcement action against. The consent order remains in effect. /
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FACT SHEET FOR AL CROSS TO FEDERAL DEFENDER

Defendant Alfred Cross (hereafter “Cross”) is a private, individual person whom acts on
behalf of others to buy and sell property and negotiate real estate in exchange for a commission
Plaintiff acts in his own behalf, or as an independent agent for those he intervenes for to
negotiate real estate transactions, do consulting, management, or help acquire financing for
parties in trouble or needing help, usually from California lenders.

Defendant Cross has operated through a company called Giant Hospitality Group, with

Offices out of California and Illinois, doing business since 1982 and which deals national; he has

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helped companies like: __MSMQML
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This is in regards to a contractual agreement between Defendant Alfred Cross, and Plaintiff
Randall Irwin, of 333 South 42th Street, Mount Vernon, Illinois 62864, for the purpose of
Defendant rendering service in assisting Defendant Randall Irwin in the capacity of a “Private
Real Estate Negotiator” in purchasing the America’s Best Value Inn from the Patels, now called

the Affordable lnn, at 405 South 44th Street, Mount Vernon, Illinois 62864.

Starting back on or around April 2014, Randall Irwin approached Defendant Cross to help
him purchase the America’s Best Value lnn motel from Pete Patel and his brother Victor. They
were asking a price of $3,200,000.00 for the property. After negotiations, Defendant brought

them to an amount of $2,500,000.00 for the properly

Plaintiff Cross agreed to act as a negotiator, consultant and advisor in exchange for

$50,000.00 commission and started these negotiations as an independent agent acting on behalf

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of Randall Irwin and NVK on or around May 4, 2014. Victor Patel was to pay a $200,000.00

commission off the sale.

Victor Patel informed Defendant if he did not have to pay any commission, he would bring
the price down to $2,200,000.00. Defendant took the offer to Plaintiff Randall Irwin, who
accepted this offer by assent thereby reverting the commission Defendant would have received
from Victor Patel back to Plaintiff Randall Irwin. Plaintiff Randall Irwin did not explain all
details to Defendant and was not forthcoming with all the facts in regard to the property
purchase. This agreement, with the assent with Victor Patel, was that Randall Irwin would pay
Defendant lO% of the sale price of the property (which is Cross’ average rate in all transactions).

Plaintiff Randall Irwin agreed to these terms.

Plaintiff Randall Irwin informed Defendant Cross he wanted the lower price because “I do
not believe I could get anything more or extra because of the ship of the property” than the price

of the motel, which is why negotiations were made with Patel to bring the price down to

$2,200,00.00.

During this time liame, Cross and Irwin spoke of other possible purchases for Cross, with
Cross having some concern. Irwin informed Cross he could insure financing When asked how,
Irwin explained by a “kickback” to the loan officer he would get the loan. Irwin further told
Cross that he insured the loan by paying the loan officer $50,000.00. The loan otiicer is Brian
out of Salem People’s National Bank. A bank who recently got a $16 million dollar suit and

investigation for drug and bank crimes against it.

At the closing, Plaintiff Randall Irwin obtained from Plaintiff People’s National Bank of

Salem, Illinois $240,000.00 extra from the price for working capital, with the total amount being

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$2,440,000.00. Of this price, Defendant was entitled, pursuant to the verbal contractual
agreement, and the Purchase and Sale agreement, to 10% or the sum total of $220,000.00; minus
$10,000.00 for filmiture. Each party normally pays half, but when Plaintiff Randall Irwin agreed
to Victor Patel’s terms, he also agreed to pay the total commission for finalizing the agreement
of $210,000.00. The $50,000.00 was actually dropped this fee, which could have remained, to

just the $210,000.00 for faimess.

As negotiator, Defendant Cross benefited Plaintiff Randall Irwin by saving him over
$800,000.00 off the property cost. The property of the America’s Best Value Inn, now

Affordable Inn, is located at: 405 South 44th Street, Mount Vernon, Illinois 62864.

The amount owed for the services Defendant Cross rendered, by verbal and written contract,
is 10% of the selling price, or $220,000.00, minus some items Defendant obtained from Plaintiff
Irwin, which would be subtracted from this price. The owner, Plaintiff Randall lrwin, operates
under the corporation known as NVK Properties, LLC out of, Mount Vernon, Illinois, and

MidSouth Property Holdings Inc., out of Salem, Illinois.

The closing of the property occurred on or about January 16, 2015 upon which Defendant
Cross signed for Plaintiff Irwin, at his request, a Settlement sheet from Plaintiff Jefferson County
Title Company. This was also signed by Peter Patel, and acknowledged by Piercy of the Howard,
Leggans, Piercy & Howard Law Firm, at 1008 Main Street, Mount Vernon, Illinois 62864,
phones (618) 242-6594. The Settlement sheet signed by Defendant Cross and Peter Patel at the
Plaintiff Jefferson County Title Company stated the following: l) contract price, $2,100,000.00;
2) personal property: $100,000.00; 3) Buyer’s expense, $14,048.00; and 4) Permanent working
capital, $200,000.00. It also included in the summary of seller’s transactions various quotes of

ntnnbers as to figures relating to Plaintiff People’s National Bank, and other matters. It is

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contended Peter Patel’s Settlement Sheet would state these same matters. The Working capital
was for purchase to upgrade the newly acquired motel purchased and pay part of Cross’

commission fee.

The bank used a Hud-l settlement sheet, not the proper form, which required all
commissions be stated and finalized at time of closing. Section 700 deals with the commission
paid to real estate agents. Lines 701 and 702 show how commissions are split between two
participating agencies. The Howard, Leggans, Piercy & Howard Law F irm knew Cross was not a

licensed real estate broker and had no complaint of him acting as agent for Irwin and the Patels.

After purchase, the City of Mt. Vernon sought to close the motel due to damage on the 3 and
4"‘ levels; a portion of the 4‘h level front outer walkway had collapsed and Cross assured the City
the 3"j and 4th levels would not be lived in and the walkway would be repaired. Cross, as
consultant and advisor also, hired Kevin to format a new section on the 4th floor,
which was placed underway and which, aherward, Randall Irwin intervened to pay Kevin more
than the contracted work agreed to and allowed cuts, which were to be guaranteed by Kevin on

the work.

Defendant Cross is entitled the commission owed him at time of closing. Plaintiff Irwin
requested Defendant wait until he finalized the entire property division which Plaintiff Irwin
expected to sell in the upcoming future, at which time Defendant was to be paid for my services,
or by May l, 2015 at the latest. Plaintiff Irwin allowed the transactors to back out f`rom a specific

performance matter and then claims he does not owe me until he sells the property, contrary to

the agreement

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After closing, Cross further acted as the consultant for the hotel, helping in hiring people,
placing an assistant manager into position, helping to make repairs and labors, all as part of the
entire agreement regarding the purchase of the motel. He also worked at the Cozy Inn location;
the BBQ building; helped clean the residence of 39 Mateer Drive to allow rental, and assisted on

Irwin’s house.

On or around 2 months alter the purchase and closing finalized, Defendant Cross went to
Plaintiff Jefferson County Title Company to obtain a copy of the Settlement Sheet, for he
misplaced his original. When entering, he asked an agent for Plaintiff Jefferson County Title
Company as to the document, who at first would not perform until Defendant Cross explained he
signed the document and held a right to it; alter speaking to someone in the back room, the lady
agent looked for the Settlement Sheet in the tile and stated it was not there, looked around and it
was laying on a desk. Defendant Cross asked why it was not in the file and was informed “it is
being updated.” Defendant Cross received a copy but did not pay much attention to it at this

time.

Later, Defendant Cross located the original and compared the Settlement Sheets; the second,
received after closing from Plaintiff Jefferson County Title Company, was different, where it
now stated: l) Contract Sales Price: $2,100,000.00; 2) Personal property: $100,000.00; 3)
Buyer’s expenses: $214,048.00; and the working capital was now blank. This is believed was
done to allow Irwin to transfer the funds out of state. Further, the entire row under Summary of
Seller’s Transactions was now empty, holding no figures. Defendant Cross believes this is what
the “it is being updated” represented, was the alteration of closing documents by Plaintiff
Jefferson County Title Company on behalf of Plaintiff Irwin, probably at the direction of

People’s National Bank,

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The Plaintiff, Jefferson County Title Company indicates plainly Defendant is owed a
commission on $2,100,000.00 for negotiating sale, consulting, labors and advising the purchase,
repairs and operation of the hotel at 405 South 44th Street, Mount Vernon, Illinois. The extra

$10,000.00 was an error where furniture is not part of the transaction

Randall Irwin refused to listen to Cross, and removed the Americas Best Value signage,
contrary to agreement with the Vantage agent, which caused Vantage, out of Florida to file a
civil suit which included Cross as a party. Cross filed a transfer of venue, which the attorney

hired dismissed with right to refile. Cross also filed a civil action against Vantage and local

party.

Cross asked to be paid and Irwin refused. Irwin contended he didn’t owe anything He
contended if anything he only owed $20,000.00. Irwin had stated many matters of which his
statements would alter and change for they were never honest or upfront. Cross learned a lawyer
in Mt. Vemon had to sue to get his funds, and a businessman in Salem held Irwin a liar and a
person that would try to cheat people to keep his money, even for work done. Cross had concerns

of being paid and filed liens to Protect himself on the properties.

As indicated in the lien, the Patels were going to pay the larger commission, with Mr. Irwin
only liable for $50,000.00, however, because Mr. Irwin refused to accept the motel for
$2,400,00.00 and requested a further departure, Mr. Irwin instructed he would take care of the
complete commission if Patels’ would accept the lower price of $2,200,000.00 which they did,
making Mr. Irwin responsible for the entire commission based on $2,100,000.00, where

Defendant’s normal fee is 10% of the purchase/sale price.

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That after purchase of the Hotel for Plaintiff Randall Irwin and NVK Properties, Defendant
Cross went to Memphis Tennessee to see a friend for a loan based on the terms of the agreement
that by May 1, 2015 Defendant Cross would be paid his commission The friend, Buff`ord
Hunter, loaned Defendant $50,000.00 at 5% interest to be repaid by June l, 2015 from the
payment of the commission This was all contingent upon Defendant’s payment from Plaintiff

Irwin for the commission owed for his services and helping to improve the property.

Plaintiff Irwin made the claim based on the allegation he did not believe he could not get the
$2,200,000.00 and would be lucky to obtain this, and could not get the $2,400,000.00 because
the property value was not there from Plaintiff People’s National Bank. It’s worth noting the
“Purchase and Sale Agreement” with the Patels’ makes plain Defendant was the agent and seller

for both MPK Investment, Inc. and NVK Properties, LLC, both Irwin and the Patels.

It’s alleged Plaintiff, Irwin is partners or venture co-partners in relation to business
transactions, where Plaintiff Irwin is president of MidSouth Property Holdings, Inc. in Salem,
Illinois, and Plaintiff Michael P. Holtz is President of MPH Hotels, Inc. out of Florida, but both
have ownership in Plaintiff Salem, IL 0614 LLC as shown by the Illinois’ Secretary of State web
site. The site also indicates plainly that MPH Hotels Inc. and MidSouth Property Holdings Inc.
are the primary owners of Plaintiff Salem IL, 6014 LLC, and the owners of these two properties
are Plaintiff Randall Irwin for MidSouth Property Holdings and Plaintiff Michael Holtz for MPH
Hotels Inc., the same parties who signed the Plaintiff Salem IL, 0614 LLC mortgage. Notably,
the Building Pennit for the Salem IL 0614 LLC property was obtained by MPH Hotel’s agent

Randy Gibbons from Florida.

It’s alleged, Plaintiff Irwin informed Plaintiff People’s National Bank for the mortgage loan on

the Mount Vernon Property it was to pay part of the commission to Defendant and help repair

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and operate the hotel property at 405 South 44th Street, Mount Vernon, Illinois. Documents
show Plaintiff lrvvin had $225,891.21 in the business account which is from the $2,440,000.00
for the property loan, later reduced to $11,712.82 because of transfer from mortgage property to

the Salem IL, 0614 LLC property,

When this amount dropped, Irwin went to Florida with the funds for his partner, Holtz, to
purchase stock in the Salem, Illinois, Holiday Express hotel being built. Because of Irwin’s
repeated trips to Florida during a year’s time frarne, it is also believed there could be drug
activity involved. Irwin usually claims before a trip he has no funds; alter the trip, he pays bills.
A State oHicer mentioned when Irwin’s son died, by suicide, from Heroine usage, they believed

Randall Irwin senior had something to do with the Heroine dealing, but could not prove it then

It is contended Plaintiff People’s National Bank, via agent Brian Gansauer, bank officer;
(Officer receiving kickback from Irwin), Plaintiff Jefferson County Title Company; Plaintiff
Irwin and Plaintiff Holtz, worked in agreement with each other, knowing the original Settlement
Sheet required the extra funds to be working funds for only the Mount Vernon Property, to alter
and commit criminal offense of fraud to change the original Settlement Sheet into the altered
Settlement Sheet, to allow Plaintiff Irwin to have access to transfer the extra funds for the benefit
of Plaintiffs Holtz and SALEM, lL 0614 LLC into the Salem property, by having Plaintiffs
Jefferson County Title Company and People’s National Bank work in concert with them to
manipulate the Settlement Sheet to allow the transfer of funds by mortgage fraud, also called
money laundering When this was done, Irwin transported the funds to Florida, and from there

the ftmds entered into the SALEM IL 0614 property stock in Salem Illinois.

Irwin makes regular trips from Illinois to Florida. Before making the trips Irwin

complains of lacking funds; after each trip he seems to have iilnds to pay bills and expenses

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Cross believes, but cannot prove, this is due to drug actions. lrwin drives a dark blue Hummer,

which is used for these trips.

Irwin had Mr. Skurdal hire a man named James Johnston, an ex~felon for drug charges,
and friend of his dead son as employee at the Hotel. Johnston was allowed to buy and repair
rooms Irwin would never allow Skurdal, as manager, to do. Eventually, Johnston was made
manager, and Skurdal was removed from that position Johnston had many connections from his
drug sales, and could buy items cheap, where it is believed the items were probably stolen, like
lap tops, tools, etc. Johnston also has his girlfriend, a heroine user, supposed to go to rehab, but
always remains around him instead. He makes a big issue how he’s against drugs; works with
local detectives and police, yet allows marijuana to be sold, and it is believed is tied to other
drugs, but carmot be proven Skurdal was eventually fired. The hotel is known for it being filled

with drug users, majority of rooms being rented weekly, like an apartment

In 2016, Irwin travelled back and forth between Mount Vernon and Florida over 4-5

times during the year. ln 2016, to Cross’ knowledge, Irwin’s gone 1-2 times already. Why?

Facts are only partial for a review. The complaints set forth the facts more thoroughly.

Cases are: Salem IL 0614 LLC v. Cross No: l$-CH-53 (4th Judicial Circuit, Marion County,

 

Dec. 09, 2015), on appeal, 5-16-0258 (5th District, Dec. 13, 2016); and NVK Properties, LLC and
Irwin v. Cross and Cross. No: lS-CH-62 (Second Judicial Circuit, Sept. 14, 2015), appeal

dismissed due to Cross’ inability to obtain records. Also, Cross v. Irwin et al ., No l7-CV-34-

 

JPG-RJD (USDC S.DIST. ILL) which was dismissed because of inability to show juridical
authority for the court to hear the case. This can be viewed on PACER with more detailed facts
and documents, including the altered settlement sheets. Further facts can be reviewed through

these cases.

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Much of Cross’ problems, over charges, stem from not being paid by Irwin, and banks

and state officials bringing charges against him.

In Greenville, Illinois, Cross was interested in a property, The bank suggested, instead,
Cross buy a bar that was closed, obtained by the bank. Cross agreed. The bank was to issue a
mortgage deed for the lender out of Califomia. Cross and Skurdal signed the loan documents,
with Skurdal (having knowledge of the UCC and banking laws) reserving his rights by signing
“Reserving all rights” above his signature on the bank account documents, the loan papers, and

on various checks he was asked to sign relating to the loan.

The bank never issued the mortgage deed for the lender, but the Greenville bank stated,
even in front of Skurdal, the money was there and Cross obtained cashier checks of various
amounts for the loan and other matters, around $100,000.00 plus or minus. These checks
allegedly bounced, because the lender withdrew the funds because the mortgage deed had not
issued. The bank had Cross come down to discuss the problem and was informed they needed to
turn over the mortgage deed but the bank was hesitant Although they could have required the
lender to guarantee the check for exchange of the mortgage deed, or make the mortgage
contingent on recent of the funds when issued, the bank did nothing. They called Cross back and

had him arrested, with Cross’ brother helping to bail him out for $50,000.00.

The account was in Skurdal’s name and the banker had been informed when it was
opened that Skurdal was in Mount Vemon at the Affordable lnn hotel. That because it was
temporary, a different address was given for the account, but the bank officer had knowledge of
Skurdal’s dwelling location The bank sent things to Montana, but never to Mount Vernon.

Skurdal was never given notice to allow remedy of the problem as set by the Baker’s Hand book

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and UCC standards Instead, they just arrested Skurdal, at the Affordable lnn, believing he could

also put up a large bail, but Skurdal is a poor man without ability for bails.

Skurdal got an OR bond because of medical and his filings in jail. Skurdal was arguing
the bank loan was actually paid,y except for about $3-4,000.00 because each check and mortgage
documents, being signed by reservation, when the bank failed to give notice and time to correct,
cancelled those checks out under the UCC. Since the largest check, signed by Cross, and the loan
monies, was contingent on the mortgage papers, and Skurdal signed these by reservation also, as
well as his account the funds went through, these checks were also cancelled. The bank nor state

officials would recognize this matter.

Cross was concerned about jail and appeals, so he agreed to plead guilty in exchange for
Skurdal being dismissed Skurdal wanted to fight because he believed he could win. Skurdal was
to have a probable cause hearing, but Cross’ plea cancelled this, so whether the case might had
been dismissed was never known However, when the Court had Skurdal come forth to have him
dismissed, and the prosecutor informed the court of the plea and terms, the prosecutor turned
around to face the banker behind him and asked the banker “is that what you wanted? Is this
okay with you?” and solely because of the banker’s statements the process proceeded and
Skurdal was dismissed, and Cross found guilty. The banker controlled the court process, and the
prosecutor always spoke to the judge in chambers before each hearing without Skurdal or Cross’

presence.

Skurdal could inform the UCC authority and explain why he believed he could win the

case if needed. He stated he would explain if requested

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CC: KATHY PARKER' MICHAEL RADCL.IFFE; JENNIFER CLONINGER; LESLIE EVANS; RANDELL BLACKBURN; TODD
MYERS; SUSAN YBARZABAL; ALEXANDRA S LANSDEN
Subject: RE: Biuegrass Comrnercia| Investments

>Mlchae| pulled h_e_r__c_re_d_it this morning, it is attached Chexsystems didn t show anything when l opened the account 4
' ii

From: JASON E JONES

Sent: .Wednesday,g»5t_1gust 24, 2016 11: 02 AM

TO CHASE BOHANNON`~

Cc: FARKER°'MICHAEL RADCLIFFE,' JENNIFER CLONINGER; LESLIE EVANS; RANDELL BLACKBURN,' TODD
MYERS,' SUSAN YBARZABAL; ALEXANDRA S. LANSDEN

Subject: Re: Biuegrass Commercial Investments

_\l think that would be good. Because at this time, we do have an unsecured loan 1 think we should run a credit report <

 

What did the Chexsystems report show? N °` " T];‘C bl‘)""'k F;QI‘(HM racial :`E j w{"wu 4L`B+
d;}-{ge_,l< cans Re'h.u~i,c;r> 1,11;00,41<:-{ H' l)Ecc~!i“iES
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Cir-LCD:"; 1£¢013<'~'/-` Ci<_jic.c..;+ 111,_; 15 14 C‘_ic,-ii
p___h__-i}.'i _,»=1-[-{-¢=:,€1.} w<;'i` C'_s$`_~l 1151¢1.;1_1_(\ _.
on Aug 24 2016 at 10 58 AM @E BoHANt9l <M@s,is_\cc_$eem> Wt°'fF-'

'-»-~.

Sent from my iPhone

 

| can call them back and get the gentleman's information if you think | should.

From: JASON E JONES
Sent: Wednesday, August 24, 2016 10:58 AM

TG: CHASE BOHANNON
CC: KA`IHY PARKER; MICHAEL RADCLIFFE,‘ JENNIFER CLONINGER,' LESLlE EVANS; RANDELL

BLACKBURN; TODD MYERS; SUSAN YBARZABAL,' ALEXANDRA S. LANSDEN
Subject: Re: Bluegrass Commercia| Investmean

Can you talk to the investors and get some information from them?

Sent from my iPho ne

,.»-------_’.._'°"--

./- _~\~:._"

On Aug 24, 2016, at 10:52 AN|, CHASE BOHANNON?,<CHASEB@cfsvcs.corn> wrote:

_,-’..

Another option for when they are with the investor in Memphis is for him to wire the
funds directly to us, with me giving him the information directly over the phone. They
are going to call me when they meet with him tomorrow

From: CHASE BOHANNON

Sent: Wednesday, August 24, 2016 10:51 AM

TO: KATHY PARKER; MICHAEL RADCl_IFFE; JENNIFER CLONINGER; JASON E JONES,'
LESLIE EVANS; RANDELL BLACKBURN,' TODD MYERS; SUSAN YBARZABAL; ALEXANDRA
S. LANSDEN

Subject: B|uegrass Comrnercia| Investments

Hi everyone,

Case 3:17--cr 30047- N.]R Document 46- 1 filed 10/24/17 Pffe 47 0 p0 Pape |D #202 »
l )l~{'('_'_l`F 1213 "Ht r_‘- gl:)y-¥JL](-- ji\.J 5le [flfllc> ll§* '5`!14-4'3 Ci§(`!§ l-\'C?}~l

l;§+l'“""il"'-": "l?`-'> `H~IE 39¢4~)1-7€:1 L~KE\_L~`lrit}f-' \l`§\lj @lf~”v‘<t/Hc~l_/i

Real Estate Purchase Contract

The undersigned Buyer(s_} (whether one or more, hereinafter collectively called the "Buyer")
oi`t`ers to purchase from the Seller(_s) (whether one or more. hereinafter collectively called the
"`Seller") the following described property_1 with all improvements and appurtenances
thereunto belonging known as

2021 Kv. Ave Paducah Ky. 42001

and further described in Deed Book l_lE.p 02_86. (` ounty oiMcCracken State ol`
Kentucl\'y (the “Property").

l. PURCHASE PRIC.i{: "l`he purchase price i`or the property shall be the sum oi`
$46.000.00

2. I)EZPOSIT: An earnest money deposit has been paid to seller in the amount of
$1000.001_ pending payment in l`ull or buyer obtaining linaneing l`or payment oi` said
contractl

3. l MORTGAGE: Buycr agrees to apply i`or and use Buyer’s best cl"i'orts to obtain a
~>S;~ hired/adjustable rate mortgage loan. iiuyer shall pay ali closing costs unless otherwise
" stated in this purchase contract

4. PROPER`I`Y iNCLUDEl): 'l`he term property as herein used shall include all fixtures
such as shades. screens, linoleum, \.vall-to-wall carpet, storm doors and \vindows,
curtain roads. lighting heating and plumbing equipment ii`any, plus all articles so
attached or built in whieh. iircmoved_ would leave premises in a damaged incomplete or
unfinished eondition. plus the iollowing:

5. DEED: At closing, upon the purchase being paid as provided in Paragraph l, hereof,
an encumbered marketable title to the property shall be conveyed to Buyer by deed of
general warranty with the usual covenants such as anyl national title company will insure,
Free and clear ot`all liens and encumbrances except (l) such liens and encumbrances as
Buyer may specifically approve; (li) restrictions imposed by the Planning and Zoning
Commission and (l[l) easements oi` record and all restrictions as to the use and
improvement oi`the Property of record. Should the title to the property appear defective
Seller shall have thirty 1301 days after receipt oi` notice from Buyer oi`such detect(s)
within which to remedy same ot` cost ot`Scllcr.

6. Cl,OSiNG COSTS: Selier shall pay the transfer tax t`or the deed_ and i`or preparation ot`
the deed. and Buyer shall pay for the opinion oi`title_ unless such title shall be defective
and such detect is not remedied by Seller. in which case Seller shall reimburse iiuyer l`or
Buyer`s actual cost incurred for such title opinion

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7. PRORATIONS: Rents. ifany. are to be prorated as ofthe date ofclosing security
deposits or advance rents. i't` any. shall be credited to Buyer as ofthe date ofelosing. All
real estate and valorem taxes due and payable during the year of closing shall be prorated

on a calendar basis. regardless of the date upon which such taxes were assessed, or the date
which may be set forth on any ta.\' bill thereforel ln the event ad valorem taxes for the year
of closing are unavailable or unascertainable then the ad valorem rate for the preceding
year assessment shall be considered as a basis for prorations.

8. CLOSING: 'l`his transaction shall be closed on or before 9/19/2016.

9. P()SSESSION: Possession ofthe property shall take place day oftleed, or
9/20/2016.

l(). RISK OI"` l.OSS OR l)/\MAGE: A|l risk ofloss or damage to the property by fire._
windstorm, casualty, or other cause shall remain with Seller until date ofclosing. Ifthe
property is destroyed or materially damaged by any of the aforementioned this contract
shall be null and void at the option ofthe Buyer.

l l. SF,I,LER WARRAN'[`[ES: Property is being sold "as is. where is".

F,NTIRE AGREEMENT: Buyer and Seller have read the entire contents ofthis contract.
agree that all terms and conditions pertinent hereto are included in this writing, and
agree that no verbal agreements or understandings of any kind shall be binding upon the
parties.

l3. ACCEPTANCF. OF (.`ON'I`RAC"|`: Upon sellers acceptance ofthis Contract by their
signatures, this Contract shall be in full force and effect

l4. l'NSPEC'l`IONS. 'l`his Contract and Buyer’s obligation to close the sale transaction
contemplated herein is specifically contingent upon Buyer’s satisfaction of each of the
following contingencies (thc “Contingencies”). any or all of which may be waived by Buyer
in writing to Seller on or prior to 5:00 p.m. Central Time on that date which is thirty (30)
days after the date of this Contract (the “Contingency Period“). Buyer shall have until 5:00
p.m. Central `l`ime by the end of the Contingency Period to take the following actions:

a) Environmental Assessment. 'fo review and approve any and all environmental
inspections or reports which Buycr may obtain ofthc Property at Purchaser`s sole cost and
expense;

b) Physical Condition. To review and approve the physical condition ofthe Property;

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c) Zoning. 'l`o determine that Buyer’s intended usc of the Property is allowed under its
current Zoning and other land use rules and regulations; and _ _ .
d) Flood Plain Dctermination. To determine that the Property is not within a flood plain

or that the Property is situated at an acceptable elevation within a flood plain that will not
interfere with Buyer’s intended use of thc Property or Buyer`s ability to finance or re-sell the
Property.

During the Contingency Period. Buycr or Buyer’s agents may enter upon the Property, and
Seller shall grant them access to the Property at all reasonable times and upon reasonable
prior notice for purposes of conducting inspections surveys. test. studies and other
investigations provided for hereiii. l3u_ver agrees to repair any physical damage at its expense
done to thc Property to Seller`s satisfaction with respect to the foregoing Buyer shall
indemnify and hold harmless Seller with respect to any and all loss. claim. injury or other
damage resulting from the inspections surveys. tests. studies and other investigations
provided for herein and from all testing and liens that may result from such testing. The
provisions ofthis paragraph shall survive termination ofthis (`ontact.

ln the event that any of the results of the above described inspections or matters are not
satisfactory to Buyer in Buyer’s sole discretion, then Buyer may by written notice given to
Seller within the Contingency Period notify Seller ofthe termination ofthis Contract and of
those conditions which arc unacceptable to Buyer. whereupon this Contract shall become
null and void and of no further force or effect and all l`§arnest i\/Ioncy shall bc promptly
returned to Buyer. lf Buyer fails to terminate the Contract as aforesaid on or prior to the end
of the Contingency Period, such failure shall be deemed a satisfaction of the conditions set
forth above and notice of Buyer’s intent to continue this Contract and waive the
Contingencies.

Accepte<i this 19"‘ day orAugusi, 2016.

 

BU`Y’§R. S iii l.l ,I£R
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Susp§$§ iii`irf)O§ ys
broken leg takes '
; plea agreement `

BY KAT RUSSELL
krusse||@paducahsun.com
A Paducah man accused last year of
breaking an infant's leg could serve up to
eight years in prison after accepting a plea »
§greement Tuesday in McCracken Circuit
Ot.u't.

1 Kelton Ragan, 19,
pleaded guilty to first-de-
gree criminal abuse of a
child less than 12 years of
age, a felony punishable
.~: by up to 10 years in pris-
' 1’ -; on. The Commonwealth
_ ' Attorney’s Odice has rec-
" " ommended a sentence of
eight years.
Assistant
wealth Attorney leigh
Ann Dycus said Ragan would be eligible for
parole after serving 20 percent of his sen-
tence and he would not be eligible for pro- `
bation or “good time credit”

“Child abuse will not be tolerated in Mc-
Crac_ken County,” Dycus said following the '
hearing “Innocent children should never l
be subyected to this type of violence. Mr. l
Ragan is going to prison where he ean’t hurt
any_other children and the baby is in a safe l
environment now.”

f_ Ragan was arrested Nov, 14 after a Bap- -
ltlst Health Paducah staff member con-
tacted. the Kentucky State Police to report a
3-m0nth~old baby had been brought to the
Fmergency room with a fractured femur.

Detective Eric Fields testjhed.during Ra-

gan’s_ preliminary hearing on Nov. 23 that
medical staff had also found evidence of an
old rib fracture on the child’s X-rays.

" Fields said he interviewed Ragan who
stated the child had woken early that morn-
ing and needed attention. Ragan told police

 

Ragan

   
   
   

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the child and she felt the
baby’s leg.

After being treated at
Baptist I-Iealth Paducah,
the detective said, the
child was transferred to
Kosair Children’s Hos-
pital in Louisville.

Following the inter~
view with the parents,
Fields said, police went
to a North 23rd Street
residence where the
couple and baby were
staying. Four other
people, including Ra»
gan’s sister, lived in the
house, he said.

Fields said investiga-
tors interviewed Ragan’s
Sister, who said she stat-
ed she had “l:ieard a loud
squeal” that morning
that was different from

\ the child’s typical cries.

Fields also described
conditions in the house,
stating there were
“holes in the dry ivan
that had been caused
by previous altercations
between Mr. Ragan and
the chlld’s mother.” The
detective added there
was clothing and trash
“piled up” around the

1 baby’s crib.

Overall, Fields said,
the ehild’s injuries and
the living condition in~

._ side the house indicated

 

“that there needs to be

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some social services
provided,” to ensure the
baby was properly taken
care of.

The combination
of the child's injuries
and the condition of

1b

the care the child has re- `
ceived.”
Ragan’s sentencing

has been scheduled for
July 24.

 

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showed “the pattern of J

 

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he had “picked the child up out of the crib \
by the legs,” and “felt something snap," the \"‘
trooper said.
The mother, Fields said didn’t realize lnursda ` ' `
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sometiungwaswrong until she was handed day at its ofliee, 5470 given ~way§'_
U.S. 60 West, across rr“ 71 g "-‘§
Ptease see RAGAN [3A from Tractor Su ply,._‘_ ii §§ U%“ §
35anli§TZRWBWm$FAH'¥T\WFTK‘F"`\‘*L-":"_\`"."»".'-"""i`i.'l`"' "1‘2’€"\"\"'."‘""‘§-`1.4€‘*1",' ' "_ “ -‘-~-g;_"' ““¢*'1""‘"7.'?.-‘::*',“*'.`5 §§ Q'l § (<D: Y‘\§R ,9
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